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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

  MYRNA DARTSON and                               §
  WILLIE MAE DARTSON,                             §
                                                  §
        Plaintiffs,                               §
                                                  §
  v.                                              §      Civil Action No. 3:17-cv-0569-M
                                                  §
  AN LUXURY IMPORTS, LTD. d/b/a                   §
  BMW OF DALLAS and ESIS, INC.,                   §
                                                  §
        Defendants.                               §

                                      FINAL JUDGMENT

        Based on the Findings of Fact and Conclusions of Law dated May 29, 2018, Plaintiffs

shall take nothing on their claims. Because, “[e]ach person who prevails in a suit [under the

Texas Theft Liability Act] . . . shall be awarded costs and reasonable and necessary attorney’s

fees” under TEX. CIV. PRAC. & REM. CODE § 134.005, the Court reviewed the record, including

Defendants’ time entries and accompanying affidavit. Based on that review, the Court concludes

that $20,000 in reasonable and necessary attorney’s fees are attributable to the defense of

Plaintiffs’ TTLA claim against Defendant. Plaintiffs’ counsel is also required to pay the

sanctions of $3382.50 set out in Magistrate Judge Horan’s Order of August 22, 2018. (ECF No.

131).

        It is therefore ORDERED, ADJUDGED, and DECREED that (1) Plaintiffs take

nothing on their claims; (2) Plaintiffs shall pay Defendants $20,000 in attorney’s fees, for which

execution may issue; (3) Plaintiffs’ counsel, Temani Me’Chelle Adams, shall pay $3382.50 in

sanctions within thirty days of the date of this judgment; and (4) all costs of court are taxed

against Plaintiffs.



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    SO ORDERED.

    September 13, 2018.




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